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Attorneys for Movant/ Creditor
Allen Henderson

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
SANTA ROSA DIVISION

Chapter 7
in re Case No.: 19-10507

JONATHON BRADLEY COHEN, PROPOSED ORDER GRANTING
MOTION FOR RELIEF FROM THE
AUTOMATIC STAY TO PROCEED IN
Debtor. STATE COURT

(11 U.S.C. § 362)

 

 

Allen Henderson’s (“Movant”) Motion for Relief from the Automatic Stay came on for
hearing on August 7, 2019 at 11:00 a.m. before the Honorable Charles Novack. Attorney Ryan
A. Henderson appeared for Movant and the Debtor did not appear.

The Court having read the various pleadings, documents and proceedings herein, service
having been made, and having found sufficient cause to terminate the automatic stay herein,
hereby grants the motion as follows:

IT IS FOUND, ORDERED, ADJUDGED AND DECREED

(1) That the stay of 11 U.S.C. § 362 is terminated with regard to the unlawful detainer
action, case number MCV249356, pending in Sonoma County Superior Court and

Movant may proceed with said action.

(2) Should Movant obtain a Judgment for Possession in State Court Movant may enforce the

judgment and take all steps necessary to enforce his right to possession and to obtain

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actual possession of the subject property, 3133 Stony Point Road, Santa Rosa, CA
95407. )
(3) That this Order will be binding and effective upon and despite any conversion of this
bankruptcy case to a case under any other chapter of Title 11 of the United States Code.
(4) The request to waive the 14-day stay described by Bankruptcy Rule 4001 (a)(3) is

granted.

SO ORDERED

END OF ORDER***

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COURT SERVICE LIST
Jonathon Bradley Cohen
3133 Stony Point Road
Santa Rosa, CA 95407
The following parties will receive ECF electronic notice:

Office of the United States Trustee

Linda S. Green, Chapter 7 Trustee

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Allen Henderson

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

In re Chapter 7

Case No.: 19-10507
JONATHON BRADLEY COHEN,
NOTICE OF ERRATA

Debtor(s).

 

 

TO THE HONORABLE JUDGE CHARLES NOVACK, UNITED STATES
BANKRUPTCY JUDGE, THE OFFICE OF THE UNTIED STATES TRUSTEE,
CHAPTER 7 TRUSTEE LINDA S. GREEN, THE DEBTOR, AND OTHER
INTERESTED PARTIES:

Ryan A. Henderson, attorney for Movant, submits this Notice of Errata re the
Notice of Motion for Relief from Automatic Stay (Docket Entry # 15), Motion for Relief
from Automatic Stay (Docket Entry #12), Relief From Stay Coversheet (Docket Entry
#14), and Declaration in Support of Motion for Relief from Automatic Stay (Docket Entry
#13), filed on July 19, 2019. These documents erroneously captioned the above matter
as In re JONATHAN BRADELY COHEN when it is, in fact, in re JONATHON BRADELY
COHEN. The undersigned regrets the error and any confusion it caused.

Respectfully Submitted,

Dated: July 26, 2019 /si Ryan A. Henderson

Ryan A. Henderson, Attorney for Movant

 

OTICE OF ERRATA
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